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1     STEPHANIE S. CHRISTENSEN
      Acting United States Attorney
2     SCOTT M. GARRINGER
      Assistant United States Attorney
3     Chief, Criminal Division
      RUTH C. PINKEL (Cal. Bar No. 164470)
4     Assistant United States Attorney
      Public Corruption and Civil Rights Section
5     MICHAEL J. MORSE (Cal. Bar No. 291763)
      JUAN M. RODRIGUEZ (Cal. Bar No. 313284)
6     Assistant United States Attorneys
      General Crimes Section
7          1500/1100/1200 United States Courthouse
           312 North Spring Street
8          Los Angeles, California 90012
           Telephone: (213) 894-6077/7367/0304
9          Facsimile: (213) 894-7631
           E-mail:     ruth.pinkel@usdoj.gov
10                     michael.morse@usdoj.gov
                       juan.rodriguez@usdoj.gov
11
      Attorneys for Plaintiff
12    UNITED STATES OF AMERICA
13                            UNITED STATES DISTRICT COURT
14                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
15    UNITED STATES OF AMERICA,                No. CR 21-51(A)-RGK

16               Plaintiff,                    GOVERNMENT’S SENTENCING POSITION;
                                               EXHIBITS
17                     v.
                                               Sentencing Date: September 19,
18    FELIX CISNEROS, JR.,                     2022
                                               Time:         10:00 a.m.
19               Defendant.                    Location:     Courtroom of the
                                                             Honorable R. Gary
20                                                           Klausner

21

22         Plaintiff United States of America, by and through its counsel
23    of record, the Acting United States Attorney for the Central District
24    of California and Assistant United States Attorneys Ruth C. Pinkel,
25    Michael J. Morse, and Juan M. Rodriguez, hereby files its sentencing
26    position for defendant Felix Cisneros, Jr.
27         This Sentencing Position is based upon the attached memorandum
28    of points and authorities, the exhibits attached hereto, the files
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1     and records in this case, the Presentence Investigation Report

2     (“PSR”) (Dkt. 115), and such further evidence and argument as the

3     Court may permit.

4      Dated: September 6, 2022            Respectfully submitted,

5                                          STEPHANIE S. CHRISTENSEN
                                           Acting United States Attorney
6
                                           SCOTT M. GARRINGER
7                                          Assistant United States Attorney
                                           Chief, Criminal Division
8

9                                               /s/
                                           RUTH C. PINKEL
10                                         MICHAEL J. MORSE
                                           JUAN M. RODRIGUEZ
11                                         Assistant United States Attorneys

12                                         Attorneys for Plaintiff
                                           UNITED STATES OF AMERICA
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1                        MEMORANDUM OF POINTS AND AUTHORITIES

2     I.   INTRODUCTION

3          After a five-day trial, a federal jury found Defendant FELIX

4     CISNEROS, JR. (“defendant”) guilty of Conspiracy to Commit Bribery of

5     a Public Official, in violation of 18 U.S.C. § 371; Bribery of a

6     Public Official, in violation of 18 U.S.C. § 201(b)(2)(A) and (C);

7     twenty-six counts of Money Laundering, in violation of 18 U.S.C. §

8     1956(a)(1)(B)(i); and two counts of Subscribing to a False Tax

9     Return, in violation of in violation of 26 U.S.C. § 7206(1).            As
10    proven at trial, defendant conspired with others to bribe a public
11    official, himself, and instructed a coconspirator, E.S., to funnel
12    bribe checks payable directly to the third-party financial
13    institutions holding defendant’s credit card and loan debts, and to
14    defendant’s wife, in order to conceal the check bribe proceeds.              He
15    then intentionally omitted income from the bribe proceeds from his
16    2015 and 2016 tax returns.      (The unreported income figure does not
17    include cash bribe payments of at least $40,000.)
18         The United States Probation and Pretrial Services Office

19    (“USPPSO”) calculated a total offense level of 32 and a criminal

20    history category of I, resulting in a Sentencing Guidelines range of

21    121-151 months’ imprisonment and one to three years’ supervised

22    release.   (Dkt. 115, Pretrial Sentence Report (“PSR”) ¶¶ 43-81, 87.)

23    The government agrees with the USPPSO’s calculations.           Although

24    defendant’s conduct was egregious, and his history of corrupt acts

25    was long, the government believes that the Guidelines appropriately

26    account for defendant’s conduct.       Accordingly, the government

27    respectfully requests that the Court sentence defendant to a within

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1     Guidelines sentence of 145 months’ imprisonment, three years’

2     supervised release, a $3,000 special assessment, and a $35,000 fine.

3            The Court has already entered a Money Judgment of Forfeiture in

4     the amount of $133,000, which becomes final as to defendant at the

5     time of sentencing and is part of the sentence.          (Dkt. 118.)

6     II.   FACTUAL BACKGROUND

7           Defendant is a former Special Agent of the Department of

8     Homeland Security (“DHS”), Immigration and Customs Enforcement-

9     Homeland Security Investigations (“HSI”).         (PSR ¶ 11.)    As a special
10    agent, defendant had access to, among other things, restricted law
11    enforcement databases and information.        (Id. ¶ 15.)    Beginning in
12    September 2015 and continuing through at least March 2017, defendant

13    abused his federal employment for his own personal profit.            More

14    specifically, defendant conspired with E.S., an attorney engaged in

15    criminal conduct and associated with a criminal organization, and

16    J.B., to commit bribery of a public official.         In exchange for cash,

17    checks, private jet flights, hotel stays, meals, and other items of

18    value, defendant provided various services and official acts for E.S.

19    (Id. ¶¶ 19-22.)    For example, defendant regularly looked up

20    information in confidential law enforcement databases for E.S.            That

21    information ranged from determining whether individuals were under

22    investigation to altering law enforcement records.          (Id. ¶ 22.) In

23    another instance, defendant tried to assist a foreign National, and

24    client of E.S., with gaining entry into the United States. (Id.

25    ¶¶ 22-23.)

26          During the most egregious conduct, defendant obtained a parole

27    letter, which is used by law enforcement to admit an otherwise

28    inadmissible alien for a law enforcement need, under false pretenses.

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1     Defendant represented to multiple law enforcement personnel,

2     including the then Acting Special Agent in Charge, that defendant was

3     seeking to admit the foreign National because the foreign National

4     was going to assist DHS; defendant listed himself as the agent

5     responsible for the submission.       (Id. ¶¶ 25-26, 56.)      In addition to

6     the foregoing, in violation of his official duties and at the behest

7     of E.S. and J.B., defendant queried individuals and addresses to

8     determine whether law enforcement had any open investigations or

9     interest in them. (Id. ¶ 22.)
10         In sum, in exchange for things of value, among other things,

11    defendant: (1) attempted to obtain or influence the entry into the

12    United States of foreign nationals; (2) omitted enforcing immigration

13    laws consistent with his duties as an HSI agent; (3) conducted law

14    enforcement database inquiries to provide information to E.S. and his

15    associates to help them avoid law enforcement detection and

16    monitoring. (Id.)

17         Finally, for calendar years 2015 and 2016, defendant failed to

18    report over $93,000 of the income he received as the “check” bribe

19    payments 1; defendant’s under-reporting of income resulted in lowering

20    the taxes reported as due and owing on his Form 1040 individual tax

21    returns. (Id. ¶ 32-34.)

22    III. THE PRESENTENCE INVESTIGATION REPORT

23         Group One:    the PSR Grouped the Bribery and Money Laundering

24    Counts together as Group One.       (PSR ¶¶ 55-56.) The PSR calculated a

25    base offense level of 14, pursuant to U.S.S.G. § 2C1.1(a)(1) because

26

27
           1 For purposes of achieving a very conservative tax loss
28    calculation, the amount of unreported income does not include the
      cash bribe payments.
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1     defendant was a public official.       (PSR ¶¶ 56 a-b.)     Five separate

2     specific offense characteristics were then added to defendant’s base

3     offense level.      First, the PSR calculated a two-level increase,

4     pursuant to U.S.S.G. § 2C1.1(b)(1), because the offense involved more

5     than one bribe.      (Id. ¶ 56 d.) Second, an eight-level increase is

6     applied for the value of the bribe payments over $95,000. (U.S.S.G. §

7     2C1.1(b)(2), § 2B1(b)(1)(E); PSR ¶ 56 c-f.)         Third, a four-level

8     increase is added because defendant was a public official in a high-

9     level decision-making authority or sensitive position.           (U.S.S.G. §
10    2C1.1(b)(3); PSR ¶ 56 g-j.)      Fourth, another two-level increase is
11    added because defendant was a public official who facilitated the
12    obtaining of a document, the parole letter for D.K., relating to
13    legal entry into the U.S. (U.S.S.G. § 2C1.1(b)(3); PSR ¶ 56 k-l.)
14    This results in an offense level of 30 under §§ 2S1.1(a)(1) and
15    2C1.1.    Fifth and final, as a result of defendant’s § 1956 money
16    laundering convictions, a two-level increase is applied for a total
17    offense level of 32 for Group One. (U.S.S.G. § 2S1.1(b)(2)(B); PSR
18    ¶ 58.)    The government concurs with the PSR’s calculations for Group

19    One.

20           Group Two:   the government also concurs with the USPPSO that the

21    tax counts (26 U.S.C. § 7201(1)), Group 2, do not increase the total

22    offense level.      (PSR ¶¶ 72-74.)   Group 2 has a total offense level of

23    16, which is comprised of a base offense level of 12 for a tax loss

24    more than $15,000 but less than $40,000, pursuant to U.S.S.G.

25    §§ 2T1.1(a)(1), 2T4.1(D), and a two-level increase, under

26    § 2T1.1(b)(1), for failure to report over $10,000 in income from

27    criminal activity.      (PSR ¶¶ 65-67, 71.)

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1          Despite the fact that Group Two does not increase the offense

2     level, it does provide a basis, however, to justify an upper end

3     sentence as the government recommends here.         This is so because

4     U.S.S.G. § 3D1.4, Application Note 2 states that grouping “could

5     produce adjustments for the additional counts that are inadequate....

6     [i]f there are several groups and the most serious offense is

7     considerably more serious than all of the others, there will be no

8     increase in the offense level resulting from the additional counts.”

9     That is the case here.      Application Note 2 further elaborates that in
10    these situations, “[o]rdinarily, the court will have latitude to
11    impose added punishment by sentencing toward the upper end of the
12    range authorized for the most serious offense.”          Consequently,
13    Application Note 2, provides one of many bases to support the
14    government’s higher end sentencing recommendation of 145-months.
15         With respect to defendant’s criminal history, the PSR asserts
16    that defendant’s conduct in the instant offense (Group One –
17    Bribery/Money Laundering) is relevant conduct to defendant’s conduct
18    in his prior federal case, Cisneros I (CR-17-00229-CAS), because it

19    was part of the same course of conduct or common scheme or plan as

20    the offense of conviction, and the offense of conviction is of a

21    character for which USSG §3D1.2(d) would require grouping or multiple

22    counts. U.S.S.G. §1B1.3(a)(2).       (PSR ¶¶ 50-54.)

23         The PSR relies upon 1B1.3, Application Note 5 (B)(i) for the

24    proposition that for two or more offenses to constitute part of a

25    common scheme or plan, they must be substantially connected to each

26    other by at least one common factor, such as common victims, common

27    accomplices, common purpose, or similar modus operandi. (Id. ¶ 51.)

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1           The government disagrees with the USPPSO that the present case

2     is substantially connected to the prior case.         As this Court found

3     when denying defendant’s motion to dismiss for double jeopardy, the

4     conspiracies covered different time periods, the coconspirators are

5     different, the alleged overt acts are distinct, and the object of

6     each conspiracy were different and constituted violations of

7     different statutes. (Dkt. 77 (Order Denying Motion to Dismiss).)                The

8     USPPSO noted that if the Court is not persuaded that this prior case

9     is relevant conduct to the instant offense, defendant would receive
10    two criminal history points and be placed in Criminal history
11    category II, which would result in a Guidelines range of 135 to 168
12    months.   (PSR ¶ 85 n 2.)
13          Nonetheless, the government recognizes that a conservative
14    calculation of defendant’s criminal history is prudent.           Accordingly,
15    the government reluctantly concurs with the PSR’s calculation of
16    defendant’s criminal history.       Consequently, based upon a Criminal
17    History Category I, and a total offense level of 32, the applicable
18    Guidelines range is 121-151 months’ imprisonment.

19          The USPPSO notes that defendant has sufficient resources, such

20    as extra cars, and recommends that defendant pay a fine of $35,000.

21    (PSR ¶¶ 124-125.)     The government concurs in this assessment and

22    recommendation.

23    IV.   A SENTENCE OF 145 MONTHS AND THREE YEARS OF SUPERVISED RELEASE
            IS WARRANTED UNDER AN ANALYSIS OF THE 3553(A) FACTORS
24
            The Section 3553(a) factors further support the government’s
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      proposed sentence of 145 months in prison.         In determining a
26
      sufficient sentence, courts must consider the nature and
27
      circumstances of the offense, as well as the history and
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1     characteristics of the defendant. 18 U.S.C. § 3553(a)(1).           Courts

2     must also consider the need for any sentence imposed to adequately

3     punish, deter, and reflect the seriousness of the offense. 18 U.S.C.

4     § 3553(a)(2).    It is paramount that a sentence also protects the

5     public.   The government submits that a 145-month sentence is

6     sufficient but not greater than necessary to account for the factors

7     set forth in 18 U.S.C. § 3553(a).

8          The nature and circumstances of defendant’s offenses support a

9     sentence of 145 months’ imprisonment.        See 18 U.S.C. § 3553(a)(1).
10    There is no question that defendant’s crimes were serious, spanned

11    years, and undermined public confidence in government institutions.

12    While working as a trusted federal law enforcement officer with

13    tremendous power, defendant sold his access to confidential law

14    enforcement databases and his ability to influence the entry of

15    foreign nationals into the country.

16         Defendant’s history and characteristics further support the

17    requested sentence.     Unlike many of the defendants who appear before

18    this Court, defendant came from a stable, loving supportive two-

19    parent home.    (PSR ¶¶ 92, 94-97.)     Defendant admits his parents

20    instilled in him a “good work ethic.”        (Id. ¶ 96.)    Rather than build

21    upon this strong family foundation and excellent work ethic,

22    defendant turned to a life of crime in a manner that violates the

23    public trust in law enforcement.

24         Defendant’s crimes were clearly motivated by greed.           Defendant

25    lived far beyond his means, as evidenced by the fact that he still

26    has the seven (7) cars he bought before he was arrested in 2017.

27    (PSR ¶ 119.)    Defendant initially had a corrupt agreement with Levon

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1     Termendzhyan, which was laid bare in his first criminal trial in

2     Cisneros I.

3           Pushed away and cut-off financially by Termendzhyan, defendant

4     then sought money from E.S. in the fall of 2015 because defendant was

5     living far beyond his means and had thousands of dollars of credit

6     card bills every month.      E.S. richly rewarded defendant with at least

7     $40,000 in cash and over $93,000 in payments directly to credit card

8     companies, mortgage companies, the federal Thrift Savings plan (to

9     re-pay defendant’s TSP loan), and to defendant’s wife.
10          While the USSPSO has determined defendant has no criminal
11    history, in reality, defendant’s long-term history of engaging in two
12    separate conspiracies, over at least five years, to corruptly enrich
13    himself demonstrates defendant’s criminal history is understated,
14    thus warranting a 145-month sentence.
15          Defendant’s long-term association with Levon Termendzhyan and
16    his family further proves that defendant is deserving of an upper-end
17    Guidelines sentence.      Following his release from custody for his
18    prior sentence of one year and one day, defendant continued his long

19    financial association with the family of Levon Termendzhyan, his co-

20    conspirator in Cisneros I.       Indeed, Termdenzhyan’s family became

21    defendant’s sole source of employment.         By his own admission,

22    defendant was employed by GT Energy Company from his release from

23    custody on Cisneros I to his return to custody at the conclusion of

24    the trial in this case.      (PSR ¶ 115.)     According to California

25    Secretary of State records, GT Energy is a “Petroleum” business owned

26    by Termendzhyan’s brother, and operates at the same address in

27    Commerce used by the Termdenzhyans for Noil Energy Group Inc. (Ex. 1

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1     at 1, 4 (GT Energy public records); Ex. 2 at 1, 2 (Noil Energy public

2     records.)

3           A 145-month Guidelines sentence is sufficient but not greater

4     than necessary to reflect the seriousness of the offenses, promote

5     respect for the law, provide just punishment, afford adequate

6     deterrence, and protect the public.

7           Finally, a sentence at the upper-end of the Guidelines range

8     will also prevent unwarranted sentencing disparities between this

9     defendant and similarly situated defendants.          See United States v.
10    Treadwell, 593 F.3d 990, 1011 (9th Cir. 2010), overruled on other

11    grounds by United States v. Miller, 953 F.3d 1095 (9th Cir. 2020)

12    (“Because the Guidelines range was correctly calculated, the district

13    court was entitled to rely on the Guidelines range in determining

14    that there was no ‘unwarranted disparity[.]’”); Gall v. United

15    States, 552 U.S. 38, 54 (2007) (“[A]voidance of unwarranted

16    disparities was clearly considered by the Sentencing Commission when

17    setting the Guidelines ranges.”).        Accordingly, the government

18    submits that, on balance, these factors weigh in favor of a sentence

19    at the upper-end of the Guidelines range.

20    V.    CONCLUSION

21          For the foregoing reasons, the government respectfully requests

22    that the Court sentence defendant to 145 months in prison, followed

23    by 3 years of supervised release, and order that he pay a $3,000

24    special assessment, and a $35,000 fine.

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